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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 KENNETH MANNING, et al.,                             )
                                                      )   Case No. 1:23-cv-00210
               Plaintiff,                             )
                                                      )   Hon. Steven C. Seeger
               v.                                     )   District Judge
                                                      )
 McDONALD’S USA, LLC, McDONALD’S                      )   JURY TRIAL DEMANDED
 CORPORATION, et al.,                                 )
                                                      )
               Defendants.                            )
                                                      )


                        NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiffs KENNETH MANNING, et al., by and through their attorneys, respectfully

submit this Notice of Supplemental Authority in support of Plaintiffs’ Response in Opposition

to the Defendants’ Motion to Dismiss, Dkt. 29, stating as follows:

        1.      Plaintiffs have responded in opposition to Defendants McDonald’s USA, LLC and

McDonald’s Corporation’s motion to dismiss their Second Amended Complaint pursuant to Rule

12(b)(6). See Dkt. 29. That motion is presently pending.

        2.      Since the time Plaintiffs filed their Response, there has been a change in the law

(or at the very least, an important clarification) that Plaintiffs wish to bring to the Court’s

attention.

        3.      Specifically, the Seventh Circuit recently found in favor of the plaintiff-appellant

in an employment discrimination case presenting a similar issue. See Thomas v. JBS Green Bay,

Inc., No. 24-1404, --- F. 4th --- (2024). See Exhibit A (slip op.)

        4.      Relying on the Supreme Court’s recent guidance in Muldrow v. St. Louis, 601 U.S.

346, 355 (2024), a Title VII case decided by the Supreme Court earlier this year, Thomas reversed
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a district court’s decision to dismiss a race discrimination case. Thomas, slip op. at 2.

            5.     First, the Seventh Circuit held that the district court erred when it required the

plaintiff to plead a particular quantum of injury resulting from the race discrimination. Id. at 3.

As the Court’s opinion explained, “[w]hether or not the first aspect (insufficient injury) reflected

circuit law at the time, it has been overtaken by Muldrow v. St. Louis, 601 U.S. 346, 355 (2024).

Id. at 2.

            6.     Second, the Seventh Circuit held that the district court erred when it required the

plaintiff to plead allegations in support of each element of the claim that the plaintiff eventually

would need to prove at trial. Id. at 3. The Court noted that it is wrong for a district court to require

a plaintiff to plead proof supporting each element of a race discrimination claim at the pleading

stage of the case, saying:

            The second aspect of the district court’s decision—a demand that the complaint allege
            each element that the plaintiff eventually will need to prove—was contrary to law long
            before Muldrow. Matching facts to legal elements is the distinctive feature of code
            pleading, which was abrogated when the Rules of Civil Procedure introduced notice
            pleading.

Id.

            7.     “[I]t is manifestly inappropriate for a district court to demand that complaints

contain all legal elements (or factors) plus facts corresponding to each,’” the Court reiterated,

“‘It is enough to plead a plausible claim, after which a plaintiff receives the benefit of

imagination, so long as the hypotheses are consistent with the complaint. A full description of

the facts that will prove the plaintiff’s claim comes later, at the summary-judgment stage or in

the pretrial order.” Id. at 4 (quoting Chapman v. Yellow Cab Coop., 875 F.3d 846 (7th Cir.

2017)) (internal quotation marks omitted); see also id. at 5 (criticizing the district court for

demanding that the “complaint narrate facts corresponding to elements,” which was “the exact



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requirement rejected by the Supreme Court in Swierkiewicz [v. Sorema N.A., 534 U.S. 506

(2002)]”).

       8.      Important to the pending motions to dismiss before this Court, and contrary to

McDonald’s argument in its motion to dismiss, the Seventh Circuit emphasized, “Because racial

discrimination in employment is a claim on which relief can be granted, such a complaint may

not be dismissed under Rule 12(b)(6). ‘I was turned down for a job because of my race’ is all a

complaint has to say.” Thomas, slip op. at 4 (quoting Bennett v. Schmidt, 153 F.3d 516, 518 (7th

Cir. 1998)) (cleaned up).

       9.      The Seventh Circuit in Thomas concluded its opinion with the following

admonition:

       To repeat what the Justices said: Lists of things that plaintiffs need to prove concern
       evidence (at summary judgment and trial); they must not be treated as demands for
       longer and more detailed pleadings. We appreciate that district judges may be impatient
       with suits that do not seem promising, because the judges doubt that plaintiffs will be
       able to marshal enough evidence to get to trial. But the time to demand evidence is the
       summary-judgment stage. All the complaint need do is state a grievance. Details and
       proofs come later.

Thomas, slip op. at 5.

       10.     Plaintiffs submit that this opinion and its corresponding development in the

Seventh Circuit’s law governing race discrimination claims at the pleading stage supports denying

Defendants’ motion to dismiss, and Plaintiffs thus presents it to the Court as supplemental

authority.

                                                      RESPECTFULLY SUBMITTED,

                                                      KENNETH MANNING, et al.

                                                      BY: /s/ Annie Prossnitz
                                                      One of Plaintiff’s Attorneys
                                                      Arthur Loevy
                                                      Jon Loevy
                                                      Roshna Bala Keen

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                                 CERTIFICATE OF SERVICE

        I, Annie Prossnitz, an attorney, certify that on November 12, 2024, I filed the foregoing
Notice of Supplemental Authority using the Court’s CM/ECF system, which effected service on
all counsel of record.


                                                    /s/ Annie Prossnitz
                                                    One of Plaintiff’s Attorneys




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